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                        IN THE UNITED STATES DISTRICT COURT
                          IN AND FOR THE DISTRICT OF UTAH

 ARE YOU LISTENING YET PAC, and                LIEUTENANT GOVERNOR DEIDRE
 TRACIE HALVORSEN,                              HENDERSON’S OPPOSITION TO
                                                  MOTION FOR EXPEDITED
        Plaintiffs,                                 BRIEFING SCHEDULE

 v.
                                                  Case No. 2:24-cv-00104-JNP
 DEIDRE HENDERSON, lieutenant Governor of
 the State of Utah, in her official capacity          Judge Jill N. Parrish

        Defendants.
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       Lieutenant Governor Deidre Henderson, through counsel, the Utah Attorney General’s

Office, hereby responds in opposition to Plaintiffs’ Motion for Expedited Briefing Schedule

(Doc. 2).

       Plaintiffs served this lawsuit late afternoon Friday February 9th. With their Complaint

and motion for preliminary injunction, Plaintiffs also served a Motion for Expedited Briefing

Schedule asking the Court to set a three-day briefing schedule and immediate hearing on their

motion for preliminary junction. Lieutenant Governor Henderson objects to such hurried

assessment of this matter and asks that she be allowed a meaningful opportunity to respond in the

time allowed under the Court’s local rule DUCiv. 7-1, “within 14 days after service of the

motion.” The Court should deny Plaintiffs’ Motion and instead enter an order setting a briefing

schedule in accord with the Court’s local rules.

       When they filed their ballot initiative application in May 2023, Plaintiffs elected to

complete the required signature gathering process by the statutory deadline, February 15, 2024.

The initiative sponsors have had eight months to reach the statutory signature thresholds. The

looming “harm” Plaintiffs now cite as basis for expedited injunctive relief, however, is not due to

unreasonable and burdensome statutory deadlines; rather, the urgency is that the deadline is here

and their effort to demonstrate a modicum of support for the initiative has fallen short. The crisis

they cite in demanding expedited briefing is a crisis of their own making.

       Despite over eight months of actively participating in the initiative process, Plaintiffs

only now challenge the constitutionality of that process in this lawsuit, which they have filed at

the last minute . . . less than a week before the statutory signature submission deadline. Still

thousands of signatures short of the statutory threshold, Plaintiffs now attack the statutory




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process they elected to use in their attempt to reverse the legislature’s 2023 adoption of the new

state flag legislation. The Court should decline the motion for expedited briefing schedule.

       Plaintiffs’ lawsuit asserts nine separate claims and alleges that at least eight separate

provisions of the statutory ballot initiative process violate both the United States and Utah

constitutions. The three-day briefing schedule Plaintiffs propose deprives the Lieutenant

Governor a meaningful opportunity to fully address these constitutional claims. Following the

local rules, on the other hand, provides for the fair administration of justice, full and reasoned

briefing, and reasonable opportunity for the State to assess and respond to these claims. And

allowing the full briefing time contemplated in the rule would not prejudice plaintiffs.

       As noted, under local rule DUCiv 7-1, a response to a motion filed under rule 65 “must

be filed within 14 days after service of the motion.” Given the importance of these issues, and

that Plaintiffs will not be prejudiced if the Lieutenant Governor responds within the 14 days

allowed under the local rules, the Court should deny the motion for expedited briefing and enter

a scheduling order that allows a meaningful opportunity to brief and be heard “within 14 days of

after service of the motion,” – no earlier than February 23, 2024.



       DATED: February 12, 2024.



                                               UTAH ATTORNEY GENERAL’S OFFICE

                                               /s/ Jason N. Dupree
                                               Jason N. Dupree
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                                               Counsel for Defendant




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                              CERTIFICATE OF SERVICE

      I hereby certify that on February 12, 2024, I electronically filed the foregoing,
LIEUTENANT GOVERNOR DEIDRE HENDERSON’S OPPOSITION TO MOTION
FOR EXPEDITED BRIEFING SCHEDULE by using the Court’s electronic filing system
which will send a notice of electronic filing to the following:

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